     Case 8:18-cv-01486-JVS-KES Document 35 Filed 09/12/19 Page 1 of 1 Page ID #:466




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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     NICKOLAS WILDSTAR,                      ) Case No. 8:18−cv−01486−JVS−KES
11                                           )
           Plaintiff,                        ) NOTICE OF SETTLEMENT
12
                                             )
13         vs.                               )
14                                           )
     CITY OF FULLERTON; ROBERT               )
15
     BOTZHEIM; DAVID BECERRA;                )
16   and DOES 1 through 10, inclusive,       )
                                             )
17
           Defendants.                       )
18

19          TO ALL PARTIES AND THIS HONORABLE COURT:
20          The parties have reached a settlement agreement. Plaintiff respectfully requests
21    that this Honorable Court retain jurisdiction of this matter to enforce the terms of the
22    settlement.
23

24    Dated: September 12, 2019               LAW OFFICE OF GREGORY PEACOCK
25
                                              /S/ Gregory Peacock______________________
26
                                              Gregory Peacock, Esq.
27                                            Lawyer for Plaintiff
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                                    NOTICE OF SETTLEMENT
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